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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

ANN ALTMAN,                                            )
                                                       )
       Plaintiff,                                      )
                                                       )
v.                                                     )       No. 4:25-cv-00017
                                                       )
SAMUEL ALTMAN,                                         )       JURY TRIAL DEMANDED
                                                       )
       Defendant.                                      )

                                           COMPLAINT

       COMES NOW Plaintiff, Ann Altman, by and through her attorneys, Mahoney Law Firm,

LLC, and for her Complaint against Defendant, Samuel Altman, states as follows:

                                   GENERAL ALLEGATIONS

       1.        Plaintiff, Ann Altman, is a resident and citizen of the State of Hawaii.

       2.        Defendant, Samuel Altman (“Sam Altman”), is a resident and citizen of the State

of California.

       3.        Plaintiff, Ann Altman, and Defendant, Sam Altman, are biological siblings.

       4.        All of the events and wrongful acts giving rise to Plaintiff’s claims herein occurred

at the parties’ family home located at 22 Arundel Place, Clayton, Missouri 63105 (the “Family

Home”) between the approximate years of 1997 through 2006.

       5.        In approximately 1997, Plaintiff, Ann Altman, was three years old and residing in

the Family Home with Defendant, Sam Altman.

       6.        Beginning at or about that time, Defendant, Sam Altman, forced Plaintiff to touch

his penis and perform oral penetration on him. Sam Altman was twelve years old at the time.




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         7.    From approximately 1997 to 1999, when Plaintiff, Ann Altman, was between the

ages of three to five years old, the foregoing conduct occurred several times per week where

Defendant, Sam Altman, forced Plaintiff to touch his penis and perform oral penetration on him.

         8.    During the aforementioned period of time, Defendant Sam Altman’s acts of sexual

abuse progressed to digital penetration of Plaintiff’s vagina and anus, and at times he would also

forcibly perform oral sex on Plaintiff.

         9.    At all times relevant herein, Defendant, Sam Altman, groomed and manipulated

Plaintiff, Ann Altman, into believing the aforementioned sexual acts were her idea, despite the fact

she was under the age of five years old when the sexual abuse began and Defendant was nearly a

teenager.

         10.   Beginning in approximately 1999 or 2000, Defendant, Sam Altman, began to

penetrate Plaintiff, Ann Altman, with his penis both vaginally and anally.

         11.   The foregoing level of childhood sexual abuse continued for a period of

approximately eight or nine years until Plaintiff was eleven or twelve years old wherein Defendant,

Sam Altman, regularly continued to commit numerous acts of rape, sexual assault, sexual abuse,

molestation, sodomy, and battery upon Plaintiff, Ann Altman.

         12.   The last acts of rape committed by Defendant, Sam Altman, against Plaintiff, Ann

Altman, occurred when Defendant, Sam Altman, was an adult and Plaintiff, Ann Altman, was a

minor.

         13.   At all times relevant herein, there was in effect a Childhood Sexual Abuse statute

in the State of Missouri that governed acts of “childhood sexual abuse” that occurred when the

person abused was under the age of 18. R.S.Mo. § 537.046 (West 2025).




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       14.     Pursuant to the Missouri Childhood Sexual Abuse statute, “[a]ny action to recover

damages from injury or illness caused by childhood sexual abuse in an action brought pursuant to

this section shall be commenced within ten years of the plaintiff attaining the age of twenty-one or

within three years of the date the plaintiff discovers, or reasonably should have discovered, that

the injury or illness was caused by childhood sexual abuse, whichever later occurs.” R.S.Mo. §

537.046(2) (West 2025).

       15.     At the time of filing this action, Plaintiff, Ann Altman, is thirty (30) years of age.

                                  JURISDICTION & VENUE

       16.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1332.

       17.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that the events, acts, and

omissions giving rise to the claims herein all occurred in the Eastern District of Missouri.

                                            COUNT I
                                          Sexual Assault

       COMES NOW Plaintiff, Ann Altman, by and through her attorneys, Mahoney Law Firm,

LLC, and for Count I of her Complaint against Defendant, Samuel Altman (“Sam Altman”), states

as follows:

       18.     Plaintiff hereby incorporates Paragraphs 1 through 17 herein as though fully set

forth hereunder.

       19.     At no time did Plaintiff, Ann Altman, consent to the aforementioned sexual assault,

sexual abuse, sexual penetration, sodomy, and/or sexual contact by Defendant, Sam Altman, nor

did Plaintiff maintain the capacity to consent due to her minor status.

       20.     As a direct and proximate result of the aforementioned acts, Defendant, Sam

Altman, created in Plaintiff’s mind, a well-founded fear of imminent peril, caused by Defendant

Sam Altman’s ability to commit an unwanted and forceful sexual assault and battery, and


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Defendant, Sam Altman, by committing the aforementioned acts, thereby committed a sexual

assault upon Plaintiff, Ann Altman.

       21.     For the approximate years of 1997 through 2006, at the times that Defendant, Sam

Altman, sexually assaulted Plaintiff, Defendant, Sam Altman, intended to commit an unlawful and

outrageous touching upon the person of Plaintiff, Ann Altman, without any lawful justification.

       22.     Defendant Sam Altman’s actions amounted to willful and wanton misconduct

and/or a reckless disregard for the health and safety of Plaintiff, Ann Altman.

       23.     As a direct and proximate result of the foregoing acts of sexual assault upon

Plaintiff, Ann Altman, by Defendant, Sam Altman, Plaintiff has suffered great bodily injury,

including but not limited to, physical injuries associated with the harms committed; she has also

experienced PTSD, severe emotional distress, mental anguish, and depression, which is expected

to continue into the future; she has experienced embarrassment and humiliation; Plaintiff has

incurred numerous medical bills and other health-related bills as a result of medical and mental

health treatment for her injuries, and is expected to incur the same in the future; she has lost wages

and benefits she would have otherwise received, but for the sexual assault by Defendant; and may

suffer such loss of wages and benefits in the future; she has suffered a loss of enjoyment of a

normal life as a consequence of her emotional injuries and she has lost her ability to engage in the

same kinds of normal activities, all to her damage.

       WHEREFORE, Plaintiff, Ann Altman, requests that judgment be entered on her behalf

against Defendant, Samuel Altman, for actual damages in a sum in excess of Seventy-Five

Thousand Dollars ($75,000.00), for punitive damages, and for costs of suit.




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                                           COUNT II
                                          Sexual Battery

       COMES NOW Plaintiff, Ann Altman, by and through her attorneys, Mahoney Law Firm,

LLC, and for Count II of her Complaint against Defendant, Samuel Altman (“Sam Altman”), states

as follows:

       18.     Plaintiff hereby incorporates Paragraphs 1 through 17 herein as though fully set

forth hereunder.

       19.     For the approximate years of 1997 through 2006, Defendant, Sam Altman,

repeatedly and continually sexually assaulted, sexually penetrated, sexually abused, raped,

sodomized, and battered Plaintiff, Ann Altman.

       20.     At no time did Plaintiff, Ann Altman, consent to the aforementioned sexual assault,

sexual abuse, sexual penetration, sodomy, sexual contact, and/or battery by Defendant, Sam

Altman, nor did Plaintiff maintain the capacity to consent due to her minor status.

       21.     At the time Defendant, Sam Altman, committed the aforementioned acts, he

intended to commit an unlawful and outrageous touching upon the person of Plaintiff, Ann Altman,

without any lawful justification.

       22.     As a direct and proximate result of the aforementioned acts, Defendant, Sam

Altman, committed an unlawful and outrageous touching upon the person of Plaintiff, Ann

Altman, without any lawful justification or consent, thereby committing a battery upon her.

       23.     Defendant Sam Altman’s actions amounted to willful and wanton misconduct

and/or a reckless disregard for the health and safety of Plaintiff, Ann Altman.

       24.     As a direct and proximate result of the foregoing acts of sexual battery upon

Plaintiff, Ann Altman, by Defendant, Sam Altman, Plaintiff has suffered great bodily injury,

including but not limited to, physical injuries associated with the harms committed; she has also


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experienced PTSD, severe emotional distress, mental anguish, and depression, which is expected

to continue into the future; she has experienced embarrassment and humiliation; Plaintiff has

incurred numerous medical bills and other health-related bills as a result of medical and mental

health treatment for her injuries, and is expected to incur the same in the future; she has lost wages

and benefits she would have otherwise received, but for the sexual assault by Defendant; and may

suffer such loss of wages and benefits in the future; she has suffered a loss of enjoyment of a

normal life as a consequence of her emotional injuries and she has lost her ability to engage in the

same kinds of normal activities, all to her damage.

       WHEREFORE, Plaintiff, Ann Altman, requests that judgment be entered on her behalf

against Defendant, Samuel Altman, for actual damages in a sum in excess of Seventy-Five

Thousand Dollars ($75,000.00), for punitive damages, and for costs of suit.



                                               Respectfully submitted,



                                               By:    /s/ Ryan J. Mahoney
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